            Case 3:23-cv-01710-AMO Document 117 Filed 06/06/23 Page 1 of 2




1

2

3

4

5

6                              UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
7                                 SAN FRANCISCO DIVISION
8                                            Case No. 3:23-cv-01710-AMO
     FEDERAL TRADE COMMISSION,
9                                            [PROPOSED] ORDER GRANTING
                Plaintiff,                   FEDERAL TRADE COMMISSION’S
10
                                             MOTION TO STRIKE DEFENDANTS’
           v.
11                                           AFFIRMATIVE DEFENSES
     INTERCONTINENTAL
12   EXCHANGE, INC.
13   and
14   BLACK KNIGHT, INC.,
15              Defendants.
16

17

18

19

20

21

22

23

24

25

26

27

28
     [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION TO STRIKE
     CASE NO. 3:23-CV-01710-AMO
             Case 3:23-cv-01710-AMO Document 117 Filed 06/06/23 Page 2 of 2




1           Plaintiff Federal Trade Commission’s Motion to Strike Defendants’ Affirmative

2    Defenses came on for hearing on June 22, 2023. Having considered the Motion and given the

3    parties notice and an opportunity to be heard, the Court hereby GRANTS the Motion and

4    ORDERS as follows: Intercontinental Exchange, Inc.’s and Black Knight, Inc.’s First, Second,

5    Third, Fourth, Fifth, Sixth, Seventh, and Eight Affirmative Defenses are STRICKEN WITH

6    PREJUDICE.

7           IT IS SO ORDERED.

8

9    Dated: ___________________, 2023                  By: _________________________
                                                          Hon. Araceli Martínez-Olguín
10                                                        United States District Judge

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION TO STRIKE
     CASE NO. 3:23-CV-01710-AMO
